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                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF VERMONT

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )
                                              )       Criminal No.: 2:22-CR-85
FAHAD HILOWLE,                                )
          Defendant                           )

                                  MOTION FOR DETENTION

       The United States of America, by and through its attorney, Nikolas P. Kerest, United

States Attorney for the District of Vermont, hereby moves for pretrial detention of the above-

named defendant pursuant to 18 U.S.C. § 3142(e) and (f).

       1. Eligibility for Detention. The defendant is eligible for detention because the case

involves a crime of violence. See 18 U.S.C. §§ 3142(f)(1)(A).

       2. Reason for Detention. The Court should detain the defendant because there are no

conditions of release which will reasonably assure the safety of the community and the

defendant’s appearance in Court as required. The defendant has a criminal history Maine,

Minnesota and Ohio, and the convictions there range from drug offenses, to assault, to DUI. The

defendant’s criminal history dates back to 2012 and includes four felonies and numerous

violations of probation. It appears from the defendant’s history that at the time of the instant

crime, he was on probation in Maine for felony unlawful possession of cocaine base. There is

also an active, non-extraditable, arrest warrant for the defendant in Ohio for failure to appear.

This extensive criminal history, along with the defendant’s previous conduct on probation and

the active arrest warrant, all support his detention as a risk of flight and danger the community.




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       The facts of this case and the weight of the evidence also support detention. See 18

U.S.C. § 3142(g)(1)-(2). This case stems from an encounter in a parking lot between the

defendant and an officer with South Burlington PD. In the first few minutes of that encounter,

the police officer observed a firearm in the defendant’s pocket and the officer later recovered that

firearm from his pocket. This is the firearm charged in the indictment. Since it is clear the

defendant has numerous felony convictions and served two years in jail on two of those

convictions (thereby satisfying the knowledge standard in Rehaif), the evidence in this case is

very strong. Id. § 3142(g)(2). This case also obviously involves a firearm and is a crime of

violence, and both of those factors further favor detention. Id. § 3142(g)(1).

       3. Rebuttable Presumption. The United States will not invoke the rebuttable

presumption against the defendant under § 3142(e).

       4. Time for Detention Hearing. The United States requests the Court hold the detention

hearing at the defendant’s initial appearance.

       Dated at Burlington, in the District of Vermont, this 9th day of August, 2022.

                                                             Respectfully submitted,

                                                             UNITED STATES OF AMERICA

                                                             NIKOLAS P. KEREST
                                                             United States Attorney

                                                      By:    /s/ WENDY L. FULLER
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